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                                         CERTIFICATION OF FILING OF TRANSCRIPT
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                          US                                        v. Paulette Martin
                          No. RWT-04-235

                          Dist. Ct. No. 08-4060

        Please check which proceedings were filed and provide the hearing date:

                  PROCEEDING                                                      HEARING DATES

                  Voir Dire
           ✔      Opening Statement (Plaintiff)                 June 13, 2006

           ✔      Opening Statement (Defendant)                 June 13, 2006

                  Closing Argument (Plaintiff)

                  Closing Argument (Defendant)

                  Opinion of Court

                  Jury Instructions
           ✔      Sentencing                                    December 19, 2006

                  Bail Hearing
           ✔      Pre-Trial Proceedings (specify)               September 13, 2004

           ✔      Testimony (specify)                           6/13 - 8/4/06

                  Other

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